                               NO. 07-12-0430-CV

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL C

                               OCTOBER 18, 2012

                        ______________________________


                           PATRICK MORGAN, APPELLANT

                                      V.

                        HONORABLE FELIX KLEIN, APPELLEE


                       _________________________________

                FROM THE 154[TH] DISTRICT COURT OF LAMB COUNTY;

                     NO.4182; HONORABLE FELIX KLEIN, JUDGE

                        _______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
Patrick Morgan, an inmate, filed this appeal from the trial court's denial of a "Bill of review."  By letter dated October 4, 2012, this Court advised Mr. Morgan that a filing fee of $175 was overdue and also noted that failure to make payment within ten days might result in dismissal of the appeal.  Appellant has not responded, paid the filing fee, or made other arrangements for the discharge of the clerk's filing fee.  See Tex. R. App. P. 12.1(b).  
Unless a party is excused from paying a filing fee, the Clerk of this Court is required to collect filing fees set by statute or the Supreme Court when an item is presented for filing.  See Tex. R. App. P. 5 and 12.1(b).  Although the filing of a notice of appeal invokes this Court's jurisdiction, if a party fails to follow the prescribed rules of appellate procedure, the appeal may be dismissed.  Tex. R. App. P. 25.1(b).  
	Accordingly, this appeal is dismissed for failure to comply with a directive from this Court requiring action within a specified time.  Tex. R. App. P. 42.3(c).
							Patrick A. Pirtle
							      Justice


